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                    United States Court of Appeals
                                     For the First Circuit
                                        _____________________
      No. 22-1317

                 MASSACHUSETTS LABORERS' HEALTH AND WELFARE FUND;
                     TRUSTEES OF THE MASSACHUSETTS LABORERS'
                       HEALTH AND WELFARE FUND, as Fiduciaries,

                                          Plaintiffs, Appellants,

                                                    v.

                         BLUE CROSS BLUE SHIELD OF MASSACHUSETTS,

                                          Defendant, Appellee.
                                          __________________

                                              JUDGMENT

                                         Entered: April 25, 2023

              This cause came on to be heard on appeal from the United States District Court for the
      District of Massachusetts and was argued by counsel.

            Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
      judgment of the district court is affirmed.


                                                         By the Court:

                                                         Maria R. Hamilton, Clerk


      cc: James Francis Grosso, D. Brian Hufford, Peter K. Stris, Jason Cowart, Leila Bijan, John
      Randolph Stokes, Amy Harman Burkart, David T. Raimer, Evan Miller, Joseph Patrick Falvey,
      Jeffrey Matthew Harris, Robin Springberg Parry, Sarah Karchunas, Anthony F. Shelley, Charles
      L. Solomont, Michael E. Kenneally, Deborah S. Davidson
